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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                              FORT SMITH DIVISION

 UNITED STATES OF AMERICA                                     PLAINTIFF/RESPONDENT

 v.                               No. 2:15-CR-20025-011

 MARIA D. JESUS MARTINEZ                                      DEFENDANT/PETITIONER

                                      JUDGMENT

       Pursuant to the order entered in this case on this date, IT IS CONSIDERED, ORDERED,

 and ADJUDGED that this matter is DISMISSED WITH PREJUDICE.

       IT IS SO ADJUDGED this 16th day of February, 2017.


                                                       /s/P. K. Holmes, III
                                                       P.K. HOLMES, III
                                                       CHIEF U.S. DISTRICT JUDGE
